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Plaintiff * 5\ ”____ __ -
v_ * case No. 08-¢v-00047-CCB

UNIQUE MANAGEMENT SERVICES, INC. *
Defendant *

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STIPULATION AND ()RDER OF DISMISSAL WITH PREJUDICE
Plaintiff Takesheia Dorsey, proceeding pro se, and Defendant Unique Management
Servioes, lnc., t/a Unique National Collections, by its undersigned counsel, hereby stipulate to the
dismissal with prejudice of any and all claims alleged or asserted in the above-captioned action

@M¢€ CMM

511/les M. Connolly

    

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Pm-se Plaim'g (410) 581_0070

Counsel for Defendan£ Unique Managemem
Services, Inc., b’cz Unique Naz‘z'onal Collections

SO ORDERED:

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Catherme C. Blake
United State_s Disu'ict Judge

 

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